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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------x
IN RE:                                                :   APPLICATION FOR AN
                                                      :   EX PARTE ORDER PURSUANT
LETTER ROGATORY FOR                                   :   TO 28 U.S.C. § 1782(a)
INTERNATIONAL JUDICIAL                                :
ASSISTANCE FROM THE DISTRICT                          :   M 93
COURT IN PIASECZNO, POLAND                            :
IN THE MATTER OF MACIEJ POGODA :                          No. 19-mc-563
v. KATARZYNA POGODA                                   :
------------------------------------------------------x

                 Upon the accompanying declaration of Arastu K. Chaudhury, executed on

December 10, 2019, the United States of America, by its attorney, Geoffrey S. Berman, United

States Attorney for the Southern District of New York, petitions this Court for an order pursuant

to 28 U.S.C. § 1782(a), appointing Arastu K. Chaudhury, Assistant United States Attorney, as

Commissioner for the purpose of obtaining information as requested by a letter rogatory for

International Judicial Assistance from the District Court in Piaseczno, Poland, seeking

information from Morgan Stanley, in New York, New York, in connection with a proceeding

pending in that court captioned “Maciej Pogoda v. Katarzyna Pogoda.”
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Dated:    New York, New York
          December 10, 2019

                                           Respectfully submitted,

                                           GEOFFREY S. BERMAN
                                           United States Attorney for the
                                           Southern District of New York


                                    By:      /s/ Arastu K. Chaudhury
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